                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

 ACT, INC.,                                     )
                                                )        Case No. 3: 18-cv-186
         Plaintiff & Counter-Defendant,         )
                                                )        Judge Travis R. McDonough
 V.                                             )
                                                )
 WORLDWIDE INTERACTIVE                          )
 NETWORK and TERESA CHASTEEN,                   )
                                                )
        Defendants & Counter-Claimant.          )




                                       VERDICT FORM



                   ACT'S CLAIMS AGAINST WIN AND MS. CHASTEEN



                               COPYRIGHT INFRINGEMENT

QUESTION NO. 1: Do you find by a preponderance of the evidence that Teresa Chasteen
infringed ACT's copyrights in its Skills Definitions tlu·ough WIN's initial set of "Learning
Objectives"?

           Yes:

           No:          ✓

Regardless of your answer to Question No. 1, proceed to Question No. 2.




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 QUESTION NO. 2: Do you find by a preponderance of the evidence that ACT is entitled to
 damages for infringement of its copyrights through WIN' s initial set of "Leaming Objectives"?

            Yes:

            No:




If you answered "Yes" to Question No. 2, proceed to Question No. 2(A). If you answered
"No" to Question No. 2, skip Questions No. 2(A), and proceed to Question 3.


QUESTION NO. 2(A): If you answered "Yes" to Question No. 2, how much do you award
ACT in actual damages?

                 $_ _ _ _ _ _ _ _




Regardless of your answer to Question No. 2(A), proceed to Question No. 3.



QUESTION NO. 3: Do you find by a preponderance of the evidence that WIN and/or Teresa
Chasteen earned profits as a result of infringing on ACT' s copyrights in its Skills Definitions in
connection with WIN' s "Learning Objectives"?

           Yes:

           No:          ✓

If you answered "Yes" to Question No. 3, proceed to Question No. 3(A). If you answered
"No" to Question No. 3, skip Question No. 3(A), and proceed to Question 4.




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 QUESTION NO. 3(A): If you answered "Yes" to Question No. 3, what is the amount of WIN
 and/or Teresa Chasteen' s profits?

           WIN's profits:            $- - - - -

           Chasteen's profits:       $_ _ _ _ _




Regardless of your answer to Question No. 3(A), proceed to Question No. 4.



QUESTION NO. 4: Do you find by a preponderance of the evidence that WIN infringed
ACT's copyrights in its Skills Definition through WIN' s "Revised Learning Objectives (2020)"?

           Yes:

           No:



Regardless of your answer to Question No. 4, proceed to Question No. 5.



QUESTION NO. 5: Do you find by a preponderance of the evidence that Teresa Chasteen
infringed ACT's copyrights in its Skills Definition through WIN's "Revised Learning Objectives
(2020)"?

          Yes:

          No:           ✓

If you answered "Yes" to Questions Nos. 4 OR 5, proceed to Question No. 6. If you
answered "No" to Questions Nos. 4 AND 5, skip Question No. 6, and proceed to Question
No. 7.




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 QUESTION NO. 6: Do you find by a preponderance of the evidence that ACT is entitled to
 damages for infringement of its copyrights through WIN's "Revised Leaming Objectives
 (2020)"?

            Yes:

            No :




If you answered "Yes" to Question No. 6, proceed to Question No. 6(A). If you answered
"No" to Question No. 6, skip Question No. 6(A), and proceed to Question 7.




QUESTION NO. 6(A): If you answered "Yes" to Question No. 6, how much do you award
ACT in actual damages?

                 $_ _ _ _ _ _ _ _




Regardless of your answer to Question No. 6(A), proceed to Question No. 7.



QUESTION NO. 7: Do you find by a preponderance of the evidence that WIN and/or Teresa
Chasteen earned profits as a result of infringing on ACT's copyrights in its Skills Definitions in
connection with WIN ' s "Revised Leaming Objectives (2020)"?

           Yes:

           No:            ✓

If you answered "Yes" to Question No. 7, proceed to Question No. 7(A). If you answered
"No" to Question No. 7, skip Question No. 7(A), and proceed to Question No. 8.


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 QUESTION NO. 7(A): If you answered "Yes" to Question No. 7, what is the amount of WIN
 and/or Teresa Chasteen' s profits?

           WIN' s profits:        $ _ _ _ _ __

           Chasteen's profits:    $_ _ _ _ __




Regardless of your answer to Question No. 7(A), proceed to Question No. 8.




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                                  FALSE ADVERTISING


 QUESTION NO. 8: Do you find by a preponderance of the evidence that WIN is liable for
 false advertising?
           Yes:

           No:



Regardless of your answer to Question No. 8, proceed to Question No. 8(A).




QUESTION NO. 8(A): Do you find by a preponderance of the evidence that Teresa Chasteen
is liable for false advertising?
           Yes:

           No:          ✓

If you answered "Yes" to Question No. 8 OR Question No. 8(A), proceed to Questions Nos.
8(B) AND 8(C). If you answered "No" to Question No. 8 AND Question No. 8(A), skip
Questions Nos. 8(B) and 8(C), and proceed to Question 9.




QUESTION NO. 8(B): If you marked "Yes" as to Question No. 8 OR Question No. 8(A), how
much do you award ACT in damages?

                 $_ _ _ _ _ __




Regardless of your answer to Question No. 8(B), proceed to Question No. 8(C).




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 QUESTION NO. 8(C): Do you find by a preponderance of the evidence that WIN and/or
 Teresa Chasteen earned profits as a result of false adve1tising?

           Yes:

           No:




 If you answered "Yes" to Question No. 8(C), proceed to Question No. 8(D). If you
 answered "No" to Question No. 8(C), skip Question No. 8(0), and proceed to Question 9.




QUESTION NO. 8(D): If you answered "Yes" to Question No. 8(C), what is the amount of
WIN and/or Teresa Chasteen' s profits?

           WIN's profits:          $ _ _ _ __

           Chasteen's profits:     $ _ _ _ __




Regardless of your answer to Question No. 8(D), proceed to Question No. 9.




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                                  UNFAIR COMPETITION


 QUESTION NO. 9: Do you find by a preponderance of the evidence that "BRONZE,"
 " SIL VER," "GOLD," and "PLATINUM" are certification marks?

            Yes:

           No:           7
 If you answered "Yes" to Question No. 9, proceed to Question No. 9(A). If you answered
 "No" to Question No. 9, skip Questions Nos. 9(A), 9(B), 9(C), 9(D), 9(E), 9(F), and 9(G),
 and proceed to Question 10.


QUESTION NO. 9(A): Do you find by a preponderance of the evidence that WIN infringed on
ACT's "BRONZE," " SIL VER," "GOLD," and "PLATINUM" certification marks?

           Yes:

           No:



If you answered "Yes" to Question No. 9(A), proceed to Question No. 9(B). If you
answered "No" to Question No. 9(A), skip Question No. 9(B), and proceed to Question
9(C).



QUESTION NO. 9(B): If you answered "Yes" to Question No. 9(A), do you find by a
preponderance of the evidence that WIN' s infringement was willful?

           Yes:

           No:



Regardless of your answer to Question No. 9(B), proceed to Question No. 9(C).




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 QUESTION NO. 9(C): Do you find by a preponderance of the evidence that Teresa Chasteen
 infringed on ACT's "BRONZE," " SIL VER," "GOLD," and "PLATINUM" ce1iification marks?

           Yes:

           No:




 If you answered "Yes" to Question No. 9(C), proceed to Question No. 9(D). If you
 answered "No" to Question No. 9(C), skip Question No. 9(D), and proceed to Question
 9(E).



 QUESTION NO. 9(D): If you answered "Yes" to Question No. 9(C), do you find by a
 preponderance of the evidence that Teresa Chasteen' s infringement was willful?

           Yes:

           No:


 Regardless of your answer to Question No. 9(D), proceed to Question No. 9(E).




 QUESTION NO. 9(E): If you marked "Yes" in response to Question No. 9(A) OR Question
 No. 9(C), how much do you award ACT in damages?

              $_ _ _ _ _




Regardless of your answer to Question No. 9(E), proceed to Question No. 9(F).




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 QUESTION NO. 9(F): Do you find by a preponderance of the evidence that WIN and/or
 Teresa Chasteen earned profits as a result of infringing on ACT's ce1iification marks?

           Yes:

           No:




 If you answered "Yes" to Question No. 9(F), proceed to Question No. 9(G). If you
 answered "No" to Question No. 9(F), skip Question No. 9(G), and proceed to Question 10.




 QUESTION NO. 9(G): If you answered "Yes" to Question No. 9(F), what is the amount of
 WIN and/or Teresa Chasteen's profits?

           WIN's profits:           $_ _ _ _ __

           Chasteen's profits:      $ _ _ _ _ __




 Regardless of your answer to Question No. 9(G), proceed to Question No. 10.




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                             WIN's COUNTERCLAIMS AGAINST ACT


                                   FALSE ADVERTISING


 QUESTION NO. 10: Do you find by a preponderance of the evidence that ACT is liable for
 false advertising?

           Yes:

           No:




 If you answered "Yes" to Question No. 10, proceed to Question No. l0(A). If you answered
 "No" to Question No. 10, skip Question No. lO(A), and proceed to Question No. 11.




 QUESTION NO. lO(A): If you marked "Yes" to Question No. 12, how much do you award
 WIN in damages?

              $    cx\o,ooo
                         j




 Regardless of your answer to Question No. lO(A), proceed to Question No. 11.




                                            11
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         INTENTIONAL INTERFERENCE WITH BUSINESS RELATIONSHIPS


 QUESTION NO. 11: Do you find by a preponderance of the evidence that ACT is liable for
 intentional interference with business relationships?
           Yes:        ✓
           No:




 If you answered "Yes" to Question No. 11, proceed to Question No. ll(A). If you answered
 "No" to Question No. 11, skip Question No. ll(A), STOP and have the foreperson sign and
 date this form on the last page.




 QUESTION NO. ll(A): If you marked " Yes" to Question No. 11 , how much do you award
 WIN in damages?




 Regardless of your answer to Question No. ll(A), STOP and have the foreperson sign and
 date this form on the last page.




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 Have the foreperson sign and date this form and return it to the court officer.




                                                              FOREPERSON

                                                                       q/q/des
                                                              DATE




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